               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 20-6


UNITED STATES OF AMERICA,                  )
                                           )
Vs.                                        )           ORDER
                                           )
GEORGE M. GABLER.                          )
                                           )
____________________________________       )


        THIS MATTER has come before the undersigned pursuant to a Motion to

Adopt Co-Defendant Cashion’s Motion to Compel the Government to Comply

with the Electronically Stored Information Discovery Guidelines (#160) filed by

counsel for Defendant. It appears from the motion that defendant George M.

Gabler requests that he be allowed to adopt the motion filed by the co-defendant

Avery Ted Cashion, III entitled “Motion to Compel Compliance with ESI

Protocols” (#153). It appears that good cause has been shown for the granting of

the motion and it further appears that the government does not object to the

motion.

                                   ORDER

        IT IS, THEREFORE, ORDERED that the Motion to Adopt Co-Defendant

Cashion’s Motion to Compel the Government to Comply with the Electronically

Stores Information Discovery Guidelines (#160) is hereby ALLOWED and the




      Case 1:12-cr-00020-MR-SCR   Document 172   Filed 03/25/13   Page 1 of 2
defendant George M. Gabler is allowed to adopt the motion filed by defendant

Avery Cashion entitled “Motion to Compel Compliance with ESI Protocols”

(#153).

                                          Signed: March 22, 2013




   Case 1:12-cr-00020-MR-SCR   Document 172       Filed 03/25/13   Page 2 of 2
